        Case 2:19-cv-06019-GEKP Document 179 Filed 02/19/21 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE WAWA, INC. DATA SECURITY                             Case No. 19-6019-GEKP
 LITIGATION
                                                            Class Action

 This document relates to: Consumer Track




      CONSUMER PLAINTIFFS’ UNOPPOSED MOTION FOR AN ORDER
PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, PROVISIONALLY
       CERTIFYING SETTLEMENT CLASS, AND DIRECTING NOTICE


       Consumer Track Plaintiffs Kenneth Brulinski, Kelly Donnelly Bruno, Amanda

Garthwaite, Marisa Graziano, Tracey Lucas, Marcus McDaniel, Joseph Muller, April Pierce,

Nicole Portnoy, Nakia Rolling, Eric Russell, Michael Sussman, and Charmissha Tingle

(together, “Plaintiffs”) hereby respectfully move the Court for an Order that, among other things:

       1.      preliminarily approves the Settlement on the terms set forth in the Settlement

Agreement between Consumer Track Plaintiffs and Wawa, Inc. dated February 9, 2021, as fair,

reasonable, and adequate;

       2.      appoints the Settlement Administrator proposed by Plaintiffs;

       3.      approves the form, substance, and requirements of the Notice Program described

in the Settlement Agreement, including the form and content of the notices appended to the

Settlement Agreement as the best notice practicable as required by Rule 23(c)(2)(B) of the

Federal Rules of Civil Procedure;

       4.      provisionally certifies the Settlement Class pursuant to Rules 23(a), (b)(3), and (e)

of the Federal Rules of Civil Procedure; and
        Case 2:19-cv-06019-GEKP Document 179 Filed 02/19/21 Page 2 of 3




       5.        schedules a date and time for the Final Approval Hearing and sets related

deadlines.

       Defendant does not oppose this Motion.

       In further support of this Motion, Plaintiffs are concurrently submitting (i) a proposed

order; (ii) a memorandum of law in support of the Motion; and (iii) the declarations in support of

this Motion of Interim Co-Lead Counsel, of Hon. Diane M. Welsh (Ret.) of JAMS, of Timothy

O’Brien, Director of Planning and Analysis at Wawa, Inc., and of the proposed Settlement

Administrator.

       Consumer Track Plaintiffs respectfully request that their Motion be granted.



Dated: February 19, 2021                              Respectfully submitted,



                                                      /s/ Sherrie R. Savett
                                                      Sherrie R. Savett (PA Bar No. 17646)
                                                      BERGER MONTAGUE PC
                                                      1818 Market Street, Suite 3600
                                                      Philadelphia, PA 19103
                                                      (215) 875-3000
                                                      ssavett@bm.net


                                                      /s/ Roberta D. Liebenberg
                                                      Roberta D. Liebenberg (PA Bar No. 31738)
                                                      FINE, KAPLAN AND BLACK, R.P.C.
                                                      One South Broad St., 23rd Floor
                                                      Philadelphia, PA 19107
                                                      (215) 567-6565
                                                      rliebenberg@finekaplan.com




                                              2
Case 2:19-cv-06019-GEKP Document 179 Filed 02/19/21 Page 3 of 3




                                  /s/ Linda P. Nussbaum
                                  Linda P. Nussbaum (admitted pro hac vice)
                                  NUSSBAUM LAW GROUP, P.C.
                                  1211 Avenue of the Americas, 40th Fl.
                                  New York, NY 10036-8718
                                  (917) 438-9102
                                  lnussbaum@nussbaumpc.com


                                  /s/ Benjamin F. Johns
                                  Benjamin F. Johns (PA Bar No. 201373)
                                  CHIMICLES SCHWARTZ KRINER
                                    & DONALDSON-SMITH LLP
                                  361 W. Lancaster Avenue
                                  Haverford, PA 19041
                                  (610) 642-8500
                                  bfj@chimicles.com

                                  Interim Co-Lead Counsel for
                                  Consumer Track Plaintiffs




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